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                                   EXHIBIT5
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   Time         Thu Jul 20, 2023 11:53
   From         WIRELESS CALLER (540) 223-1031
   To           Maya Eckstein (Ext. 88788)
   Duration     01:45
   Voicemail Transcription

   Ms. Eckstein – Good afternoon. I guess it’s still morning technically. This is John David Gibson,
   attorney in Louisa. This is on the Baby Doe matter. I’m sorry it’s taken me a while. I’ll explain.
   I have a wife that’s running for political office. I’ve got some health issues myself, but anyways,
   we all have excuses, but those are mine. I’m happy to discuss this with you. I mean, I saw the
   objection from the other counsel. I mean my file, I’ll be honest, is quite limited. You know, my
   involvement was quite limited. I spoke to the FBI about this case. In any event, give me a call. I
   mean like I said I just I don’t mind as there’s really nothing of pertinence that I have to this case.
   I’m happy to chat with you. Obviously, I want to make sure I maintain ethical rules in terms of
   prior conflict of interest and disclosure of information. But there’s really nothing of mostly
   pertinent there. But in any event, we can talk more. Give me a call, if you could, on my – you
   have my office number, but call my cell phone if you can’t get me at the office and that is (434)
   603-7071. It is Thursday, about 11:50 in the morning. I’m headed to court right now, but I’ll be
   available this afternoon. Tomorrow I’ll be in the office. No court, but just office meetings. So
   [inaudible] me this week if you have. Thanks.
